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                      SO U TH ER N D ISTR IC T O F FL O R ID A

  U N IT ED STA T E S O F A M ER ICA ,
                                                     N o.17-M J-08268-D LB
        V.
                                                             FILED ty           D.C.

  ERIC SNYDER ,and
                                                               AF2 l2 2212
  C H R IST O PH ER FU LL ER ,
                                                                SIEVEN M LARIMORE
              D efendants.                                      CLERKub nls'
                                                                s.o.oF/t.
                                                                            r.cm
                                                                        k.-w pe.



                                        O R D ER


        U pon thisC ourt's consideration ofthe parties'stipulation,hereby incom orated

  into this O rder,and the C ourtbeing othenvise fully apprised ofthe circum stances,

        IT IS O R D ER E D thatthe prelim inary hearing shallbe continued untilM ay

  8 2018 e      /0 .
                   -*0 < 'K '
   ' y
        IT IS FU R TH ER O R D ER ED that the tim e period from A pril 12, 2018,

  through M ay 8,2018,shallbe deem ed excludable delay under the provisions ofthe

  Speedy TrialAct,Title 18 United StatesCode,Section 3161(h)(7),in consideration
  of the parties' desire to consider w hether or not a pre-indictm entresolution of this

  case ispossible. The endsofjusticeoutweightheinterestsofthedefendantand the
  publicinaspeedytrialpursuantto 18U.S.C.j3161(h)(7)forthefollowingreasons:
        1.    The defendant is under investigation for conspiracy to com m it health

  carefraud,inviolationof18U.S.C.j 1349.
                                           2
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               Because ofthe factualand legalissues involved in this case,the parties

  respectfully subm it that,due to the nature of the prosecution and the existence of

  novelquestions offactor law,the facts upon which the grand jury mustbase its
  determ ination are unusualor com plex;and

        3.     The partieshave been discussing potentialpre-indictm entresolution of

  thism atterpriorto this m otion,butw illbe unable to reach any resolution.

        Accordingly,the Courtfinds thatthe ends ofjustice served by this delay
  outw eigh the interestsofthe defendantand ofthe public in a speedy trialand thatthe

  tim e period betw een A pril 12,2018,through M ay 8, 20 18, is deem ed excludable

  delayundertheSpeedyTrialAct,18U.S.C.j3161(h),and specifcallybyreasonof
  18 U.S.C.jj 3161(h)(7)(A),(B)(i),(B)(ii),(B)(iii),and (B)(iv),in computing the
  tim e w ithin w hich an inform ation orindictm entm ustbe tiled.

        SO O R D ER ED .


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  D ate: A pril10,2018                          H on.W illiam M atthew m an
                                                U nited StatesM agistrate Judge




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